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                                                                                            13                     7615
                                                                     Civil Action No.



     AJPPLlCA1lKON TO JPROC'.Jt~l~D RN Dll§T.ll:HCT COUR'lf WY.'J('HOUT 1PRE1?AYING FEES OR COSTS
                                                      (Long ]i'orm)                                                 '



                                                            lln§tructions
Affidavit in Support of the Appl\katicm
                                                            Complete all quer:tions in this appl\cati<>n and then sign it.
I am a plaintiff or petitioner in th\n cine med declare     Do not leave any blanks: if the answer to a question is "O,"
that I am unable to pay the costs 1)\' th~se proceedings    "none," or "not aP1)\icable (N/ A)," write that response. If
and that I am entitled to the reliefreqnested. l declare
                                                            you need more space to answer a question or to explain your
under penalty of perjury that the infor:nation below is
                                                            anf:\wer, attach a S\~parnte sheet of paper identified with your
 true and understand that a false st~it~m'.ent may result
                                                            name, your case's docket number) and th': question number.
 in a dismissal of my claims.

 Signed:    Yer:J}f:_'<-.!J. J'1._c.1:.ct.°rft:~~----        Date:     1"2. 2. .....~ • / 3
                                                                       --·---·--~,   -~-·-·--~----·-·         --
                                                                                                        .......




1.      For both you and your spo\\He e:;timate the average amount of money received from eac:h of the following
       _sour~es during the past 12 1nont'.ls. Adjust any amount that was received weekly, biweekly, qua1terly,
        semiannually, or annually to shc·w the !'!}ill}thly rate. tfrie gross amounts, that is, amounts before any deductions
        for taxes or otherwise.
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2.      List your employment history for the past two years, mo:;t recent employer first. (Gross mcnth/y pay is before taxes or
        other deductions.)
i~'mplo~·=·-----Acidress. -----~-----~---1···-·--~;,§-·;)t-e;n'P10-ymein1~~=                                   -         Gross
...._ _                ·== ..·-·          ~-- .. -·-==--~~-----            ----=--·-"·"="-~-· =·----·- _l!lonthly pax
           ....,,..-                          -                                                                $


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3.      List your spouse's employrrw:.1t history for the past two years, most reecnt employer first. (Gross monthly pay ts
        before taxes or othar d11ductlons.)
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4.      How much cash do you and your s:Jouse have? $
                                                                                                                          ======J




        Below, state any money you or you spouse have Jn bank accounts or in any other financial institution.
ifin7ncial institution·..·~-·=                ~H~[}';;;r~:cot.mt   = --·    --An}(;·unt yoti~i~-~=~·f Amount your
. -··--~·------~---                           ---·-=·~---------~-~==~··     _===="""'"·-..   ~=-~-·--=..      _JQQ.use ha&

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 If you are a pdsoner, you must attach a ntatcment certified by the appropriate institutional officer showing all receipts
 expenditures, and balances during the. l1.1st s: x months in your institutional accounts. lf you have multiple accounts, '
 perhaps because you. have been in multlple ns:titutions, attach one: certified statement of each account.
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                                                                                                                                                                                          Page 3

PAia AO 239 (10/09) Application to Proceed in Disr:liot 1:ou.rt Without Prep~ying Fees or Costs (L<>ng Fom1)
;:;;:;-==-         ---====::-!:~t:~~~g::::~~~=~~=-~-==·=:;;,~."='==::.::-r.~~=---...'"==~~~=:~~~::                                                                                L±m=

:'i.          List the assets, ai1d their value:;:, -which you own or your o:pouse owns. Do not list clothing and ordinary
              household furnishings.
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 Home (Value)                           ...__                                                                              $

 Other real estate (Value)                                                                                                 $
 ·;~~·:~~or~~~;~ #] (V~1::~=·~~·~·--·-,,=·-~-=-==·~~~="'='=~=·····~=J;-···---·=·--~~-~
 '-ltv:.=.,,.,~~~-=·=>==:.....,,.====-•••••r>•c·=>l'"-==u....,.,.,,,_~~~-=--=""-._,.,,             _ _ ..,.,.,,.,..,,,=     ...,.....,....,.,,....,,_~,,,_,.,   _ _ _=~~,..,,,.~=


                      Make and year:

                      Model.:

  Motor vehicle #2         (Value)                                                                                          $

                      Make and year:

                      Model:

   Other assets (Value)                                                                                                      $

   01her assets (Value}                                                                                                      $


   6.           State every person, business, or organization owing you or your spouse money, and the amount owed,
                                                   Ro""~-'A0'.o~luit       ow;a'to yo~·~~-~-              -·~---"'Amounrow;;crtoyO'l'ir                                          spouse




       '/.      State the persons who rely on you c r your spouse for support.

       ~~~:ne (or~~~f'.~:.::ti;:=ly~~~~:.=~~~~~j·~el~~=§~~=--~~-=~~~·~--==~·                                        '     -·~-·-=--···-~-'"""""'-..""""""            .........
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l"/\I: AO Z39 (10/09) AppliOlltion to Proceed in District Co1trt Without Prepaying Fees or Costs (Long Fonn)
~:::.:~                        ~-f:~.t..:=--~........                    :::~l~~g""==~~~       ;:...~~=.:\;!~~:~.:::~~~~~~::.====~~~~~""~=-===

8.           Estimate the average monthly expnnses of you and your family. Show separately the amounts paid by your
             spouse. Adjust any paymentB the.t .ll'e made weekly, biweekly, quarterly, sem.iannually, or annually to show the
              monthly rate .
. . . ~-                        ,-....~~-··. ···----~=~~~--==---··-·=~~····1·-~--Y~m=1=-·-]-Your spouse
ifcntOi~ home-mortgage.jmymmrt(lncl~~.~i:·;;;,:;;;.r1tedfo~;10b1le home) -~- - - " · · ---~=-·~,.·=·-=·-                                                                                                     ;-.. ==   ·=

              Are real estate taxes included? Cl No                 $   / f;7::J, 6-0
                                                                              L'. Yes /)./~-
==·=~~!!!J'rQPerttii:.:!YD~.££~9~'..~!L.\;2~~=LJ N °=.=-==·---"~--~·T--·---.-=·-·~=~ =·=~  -



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't::iothing                                                                                                                                                   $                      -f)                     $
  "'=''''='=-=                   .,,.,.,,.. ..,,===·....,,,..,=···'····=•=1·~=<==~--==.~~">"'=""''===""'~,,.... c:r...,~                                     .... ,...,. .......,~=~-........,,.=-=--==.,=       ="'~=--..o=~==J



 Laimdry and dry-cleaning                                                                                                                                     $                        -/)                   $
                   - ........ =~C'•~::i-,_-,,,_,._,,.. :"'-'~==n>,,U,         '""<='.............,.="''~"'"~~-· -,.~   ~====~,...,..,=,=:1""""""'1<==        r•=>-~._...,_,,,t=-U,,,.,«>-.,==-  ...... ~~




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 Txansportation (not i11dt1di11g motor vehicle pay11 ents)
 Recreation, entertainment, newspapers,                                       ma:~azines,        etc.                                                          $                   p
 ......   ,..~~-=-..._._~          ....,.. ...................   -~~-··.,,~··-'-·_,.,r=....,.~=,,.             ....
                                                                                                                  --"""'C.'-="""=~-.,,,,._.,,.""'   .. '~'   ,.....,.,_.~_,._,...,.,,.,.,,,,   _____


 Insurance (not deducted from wages or included i11 mortgage payments)
                                                                                                                                                              ·==··-1~·---·-
               Homeowner's or renter's:
                                                                                                                                                              ~~-=-~£~_. _
               Life:

               Health:

               Motor vehicle:                                                                                                                                  $

               Other:                                                                                                                                           $
  ~'";""-=-~~•=•o~-==·                                                 --==••,,=-·--··-=~---~~·-~-~~~· •=-=•~-~~---··••
  ~.~::~~~~ducted.fi·om ·~~ges :~includei~..'.:~,~=gai=~==: (spec~~--·-·-~J~===-=·-O=--=-·- $
     lns1:allment payments

               Motor vehicle:

               Credit card (name):

               Department store (name):

               Other:
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9.      Do you expf()ct any major chrn1ges :o yow· mont?J~ inypme or expensF.
                                                                           or in your assets or liabilities during the;,3-1
        next 12 months?                                  f ~~(ftµ                Socu~ ~+-J /)-;> .. ~ ")
        l.'J Yes   rii"No       Ifye:i., describe on an attached sheet.                                    (SS            .i-)
:IC'    Have you paid····- or will you b·; ptying -- an attorney any money for services in connect\ on w\th this case,
        including the completion of thi:: fonn? CJ Yes .'Y.ef No

        If yes, how much? $ --··--··-·---·------
        If yes, state the attorney1s name, address, and telephone number:




). l.   Have you paid····· or will you. b1) paying--· anyone other than an attorney (,1·uch as a paralegal or a typjsJ) any money
        for services -in connection with this ce.se, including the completion of this form?          0 Yes ~No
        If yes, how much? $ _________________.
        If yes, state the person's name, address, and telephone nwnber:




 1.2.   Provide any other informatioo that will help explain why you cannot pay the cosl:s of thes1; proceedings.

                ~ ~°" I f;u&_~
 13.    Identify the city and state of your legal residence.
                     l/1./&J¥t:{1 />;4
         Your daytime phone number:              __J_f_7 -     '{ 7J_:_3- 3 lfj_
         Your age:   _5)____     Your yearn o:' schooling:      __ ( Q__ _
         Last four digits of your social··Ei(~curlty number:    __f_lf._{7
